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            Exhibit 6
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                                           BPCA000194

Torres, Alexis

From:                         Forst, Robin
Sent:                         Tuesday, March 17, 2015 2:52 PM
To:                           Torres, Alexis
Cc:                           Hyman, Shari
Subject:                      Greer


Following is the exchange Julissa had with Greer a short time ago.



From: Garcia, Julissa
Sent: Tuesday, March 17, 2015 2:48 PM
To: Forst, Robin
Subject:

Call from Steve Greer

Me:     Good afternoon, Robin Forst' office

Him:    Oh what are you screening her calls now?"

Me:     Robin is in a meeting at the moment, would you like to leave a message?"

Him:       You lying piece of trash, I know she's there"

I just hung up on him


Julissa Garcia
Admin. Assist./Assist. Permit Coordinator

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QKJ
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